                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

VANDA PHARMACEUTICALS                     )
INC.,                                     )
                                          )
                   Plaintiff,             )
                                          ) C.A. No. 18-651 (CFC)
             v.                           ) CONSOLIDATED
                                          )
TEVA PHARMACEUTICALS USA,                 )
INC., et al.,                             )
                                          )
                   Defendants.            )

                                JOINT STIPULATION

      Plaintiff Vanda Pharmaceuticals Inc. (“Vanda”), and Defendants Teva

Pharmaceuticals USA, Inc. (“Teva”) and Apotex Inc. and Apotex Corp. (“Apotex”)

(collectively, “Defendants” and, together with “Vanda,” the “Parties”), through their

counsel, hereby stipulate and agree to the following:

      WHEREAS, Vanda has asserted, among others, U.S. Patent No. 9,060,995

(“the ’995 patent”), U.S. Patent No. 9,539,234 (“the ’234 patent”), U.S. Patent No.

9,549,913 (“the ’913 patent”), U.S. Patent No. 9,855,241 (“the ’241 patent”), U.S.

Patent No. 10,449,176 (“the ’176 patent”), and U.S. Patent No. 10,610,510 (“the

’510 patent”);

      WHEREAS, Teva represents and warrants that it holds Abbreviated New

Drug Application (“ANDA”) No. 211601, seeking approval from FDA to engage in

the commercial manufacture, import, use, sale, or offer for sale of the proposed
generic tasimelteon product that is the subject of ANDA No. 211601 prior to the

expiration of the ’995 patent, ’234 patent, ’913 patent, ’241 patent, ’176 patent, and

the ’510 patent;

      WHEREAS, Apotex represents and warrants that it holds ANDA No. 211607,

seeking approval from FDA to engage in the commercial manufacture, import, use,

sale, or offer for sale of the proposed generic tasimelteon product that is the subject

of ANDA No. 211607 prior to the expiration of the ’995 patent, ’234 patent, ’913

patent, ’241 patent, ’176 patent, and the ’510 patent;

      WHEREAS, in the interest of streamlining the issues in the case, Vanda is no

longer asserting the ’995 patent, ’234 patent, ’913 patent, ’241 patent, ’176 patent,

and the ’510 patent;

      NOW THEREFORE:

      1.     Vanda hereby dismisses its claims with prejudice that the products that

currently are the subject of Defendants’ ANDAs (specifically, Teva’s ANDA No.

211601 and Apotex’s ANDA No. 211607) infringe the ’995 patent, ’234 patent, ’913

patent, ’241 patent, ’176 patent, and/or the ’510 patent.

      2.     Each Defendant hereby dismisses without prejudice any and all

counterclaims and challenges concerning the validity and enforceability of the ’995

patent, ’234 patent, ’913 patent, ’241 patent, ’176 patent, and the ’510 patent.




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      3.     Nothing set forth in this stipulation shall be construed as an admission

by Vanda that the claims of the ’995 patent, ’234 patent, ’913 patent, ’241 patent,

’176 patent, and the ’510 patent are not infringed.

      4.     Nothing set forth in this stipulation shall be construed as an admission

by Defendants that the claims of the ’995 patent, ’234 patent, ’913 patent, ’241

patent, ’176 patent, and the ’510 patent are valid.

      5.     The Parties reserve the right to assert any and all claims and defenses

in any future proceedings concerning any product other than Defendants’ current

ANDA products (specifically, Teva’s ANDA No. 211601 and Apotex’s ANDA No.

211607). For the avoidance of doubt, nothing in this stipulation shall preclude Vanda

from asserting any claims of the ’995 patent, ’234 patent, ’913 patent, ’241 patent,

’176 patent, and/or the ’510 patent against any other new or materially modified

ANDA product.




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June 23, 2022
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SO ORDERED this ___ day of __________, 2022.


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                      Chief, United States District Judge




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